             Case 2:18-cv-00468-RDP Document 9 Filed 05/18/18 Page 1 of 21                                             FILED
                                                                                                              2018 May-18 PM 03:52
                                                                                                              U.S. DISTRICT COURT
                                                                                                                  N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION
CLARE THOMAS,                                             }
                                                          }
        Plaintiff,                                        }
                                                          }
v.                                                        }    Case No.: 2:18-CV-468-RDP
                                                          }
T-MOBILE USA, INC., et al.,                               }
                                                          }
        Defendants.                                       }


                                              INITIAL ORDER

        Unless expressly directed otherwise, the parties SHALL comply with all provisions of

this Initial Order in the litigation of this action.

        1.       Compliance with Rule 26. Within thirty (30) days of entry of this order, the

parties must confer pursuant to Federal Rule of Civil Procedure 26(f).1 During their Rule 26(f)

conference, the parties SHALL discuss all appropriate matters necessary to submit a Rule 26

Report to the court, including the following topics:

                 •        the nature of the claims and defenses;

                 •        the possibility (and likelihood) of a prompt settlement or resolution
                          of the case through formal mediation or informal settlement
                          negotiations;

                 •        arrangements for initial disclosures pursuant to Fed. R. Civ. P.
                          26(a)(1);

                 •        preservation of discoverable information and the steps necessary to
                          do so;


         1
           Federal Rule of Civil Procedure 26(f)(2) provides: “[T]he court may order the parties or attorneys to
attend the conference in person.” Fed. R. Civ. P. 26(f)(2). The court requires the parties to meet in person, absent
exceptional circumstances. Counsel for the parties may confer over the telephone if they obtain permission from the
court to do so. In the court’s experience, in-person meetings facilitate a good working relationship between/among
counsel and offer a variety of other benefits.
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                    •           a proposed discovery plan that briefly describes the parties’
                                respective positions and provides proposed deadlines for the
                                matters addressed in sub-paragraphs (A) through (F) of Rule
                                26(f)(3);

                    •           execution of authorization(s) for disclosure of “protected health
                                information” in any case in which the provisions of the Health
                                Insurance Portability and Accountability Act of 1996 (“HIPAA”),
                                Pub. L. No. 104-191, 110 Stat. 1936 (1996), and regulations
                                promulgated under the Act, apply;2 and

                    •           any other appropriate issues or items that will advance this
                                litigation. See Fed. R. Civ. P. 1.

           2.       Time and Place of Parties’ Planning Meeting. If the parties are unable to agree

upon a date, time, or place for their Rule 26(f) conference, on or before the deadline to conduct

the        Rule         26(f)     conference,     the     parties      SHALL          email       chambers        at

proctor_chambers@alnd.uscourts.gov, and the court will set a date, time, and place for the Rule

26(f) conference.

           3.       Parties’ Planning Report. Within fourteen (14) days of the Rule 26(f)

meeting, the parties must file a joint report of their planning meeting. The report should

include the following: a brief description of the nature of the case; a synopsis of the case and the

claims and defenses of the parties; an indication of the parties’ assessment of the complexity of

the case; a list of proposed deadlines for discovery and dispositive motions; proposed limits on

the number of discovery requests and a statement of the reasons why the parties believe the

proposed limits are proportional to the needs of the case (see Fed. R. Civ. P. 26(b)(1)-(2)); a

statement regarding the parties’ initial interest in Alternative Dispute Resolution (see Section




       2
          If the parties require a HIPAA protective order, they may find a draft order at the court’s website. The
parties should tailor a draft order to their case and email the draft order to the chambers email address (see above)
for the court’s consideration.


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V.B. infra); and the other items listed above. Should the parties disagree about an item, the

positions of the parties as to that item should be clearly set forth in separate paragraphs.

        4.       Rule 16(b) Scheduling Conference. Upon receipt of the report, the court will

schedule a Rule 16(b) scheduling conference, and enter a scheduling order after the conference.

If for some reason the court does not set a Rule 16(b) scheduling conference, the court will enter

a scheduling order as soon as possible after reviewing the parties’ report.

        5.       Discovery Commencement. The parties may commence discovery pursuant to

the terms of Federal Rule of Civil Procedure 26 immediately after they file a Rule 26(f) report.

In cases removed from state court in which discovery requests were served before removal, those

discovery requests SHALL be deemed to have been served on the date the parties file their Rule

26 report.

        6.       Discovery Disputes. If the parties are unable to resolve issues relating to

discovery, rather than filing a motion to compel (or other discovery motion), the parties SHALL

request a conference with the court by either calling chambers or emailing chambers at

proctor_chambers@alnd.uscourts.gov. These conferences may be held by telephone unless the

parties request a hearing or in-person conference with the court or the court deems an in-person

conference appropriate.

        7.       CM/ECF Record. The official record of this case is maintained electronically via

CM/ECF. Except in extraordinary circumstances, all filings SHALL be consistent with the

Court’s Administrative Procedures Manual. Attorneys must register for electronic filing and

service through the “Attorney Registration” link on the court’s website, www.alnd.uscourts.gov.3

Documents filed through CM/ECF must be in .pdf (Portable Document Format). Should


        3
            After an attorney has registered, that registration becomes permanent; an attorney is not required to re-
register in each individual case.

                                                         3
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counsel have trouble filing a document, counsel may call the Clerk’s Office at (205) 278-1700

and select option 3, the Help Desk, for assistance.

        8.       Protected Information. Counsel are REMINDED to comply with the Court’s

Administrative Procedures Manual for electronic filing (on the court’s website) and Rule 5.2

with respect to redacting or sealing personal identifiers (e.g., Social Security numbers, driver’s

license numbers, birth dates, addresses, telephone numbers, bank account and credit card

information) and other personal or sensitive information, in compliance with the E-Government

Act.

        9.       Required Electronic Submissions to Chambers. Counsel must e-mail to

chambers copies of (1) all filed motions that exceed ten (10) pages, (2) copies of all filed

briefs, and (3) copies of all proposed orders. The court prefers motions, briefs, and

proposed orders in Word format, but the court will accept WordPerfect format if an

attorney cannot reasonably and practically create the document in Word. The address for

the undersigned judge’s chambers is proctor_chambers@alnd.uscourts.gov. Ex parte

communications with the judge are never allowed. All communications to the chambers’

email address must show a copy to all opposing counsel.

        10.      Attachments to Documents Filed Through CM/ECF. All attachments to

documents filed through CM/ECF SHALL bear the unique name of that attachment, not solely

the corresponding exhibit letter or number.         For example, an affidavit attached to a filed

document should bear a name such as “Exhibit 1 – Affidavit of Fnu Lnu,” not simply “Exhibit

1.” Ordinarily, each attachment SHALL contain only one (1) individual unique document.4




        4
            The court understands that one large document may span a number of attachments due to CM/ECF
restrictions.

                                                   4
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       11.     Formatting. In creating documents for submission to the court, the parties

SHALL use Times New Roman Font and 12-point type (except footnotes may be in 10-point

type). Documents SHALL be double-spaced; footnotes and indented quotations that exceed

three lines SHALL be single-spaced.

       12.     Citations to the Record. Citations to the record in this case SHALL refer to the

document number, page number, and paragraph or line number (where available). If the parties

are unable to cite to a specific paragraph or line number, they SHALL cite the document number

and page number. For example, if a party makes citation to the first paragraph of the complaint,

the citation following that discussion SHALL appear as follows: (Doc. 1, ¶ 1). If a paragraph or

line number is not available, the citation would appear as follows: (Doc. 1, p. __).

       13.     Oral Argument. Requests for oral argument SHALL appear on the first page of

a motion or brief directly below the case number in the caption of the pleading.

       14.     Briefing. Briefs accompanying motions and briefs in opposition to motions

should not exceed twenty-five (25) pages unless advance permission is obtained from the court

to exceed that limit. Reply briefs should not exceed fifteen (15) pages, absent advance

permission from the court.

       15.     Compliance with HIPAA. In accordance with the requirements of the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191, 110 Stat.

1936 (1996), and regulations promulgated thereto, when “protected health information” is

relevant to the claims or defenses presented in an action, the party seeking such “protected health

information” SHALL present a valid authorization at the Rule 26 planning meeting to be

executed by the party from whom such “protected health information” is sought. The parties

SHALL include in their report a deadline (specific date) by which the authorization will be



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executed. The parties may move the court to enter a “qualified protective order.” An order in

substantially the form attached to this order as Appendix I will be entered unless all parties

stipulate to a different version. In that case, contemporaneously with the motion, counsel should

e-mail to proctor_chambers@alnd.uscourts.gov, the proposed “qualified protective order” to be

entered by stipulation of counsel for all parties.

       16.     Suitability of Action for Alternative Dispute Resolution. All parties should

give early consideration to the possibility of settlement to avoid unnecessary costs and fees. The

court requires that the attorneys for all parties make an early analysis of the case along with their

clients and be prepared to discuss settlement at an early date. The parties SHALL also consider

and discuss whether this action may be suitable for mediation, whether under the court’s ADR

plan or otherwise.

       17.     Court Settlement Conferences. If any party thinks that a settlement conference

with the court at any stage would be conducive to settlement, that party may make a written

request that the court conduct such a conference. The results of all the discussions held pursuant

to paragraph 16 and this paragraph SHALL be included in the report of the parties’ planning

meeting to be filed with the court.

       18.     Notice to Client/Parties. Each attorney SHALL immediately forward a copy of

the Initial Order to his or her client. Plaintiff(s)’ attorney(s) are ORDERED to immediately

discuss the feasibility of settlement with Defendant(s)’ attorney(s).

       19.     Dismissal of Non-Served Defendants. Take Notice: Any defendant who has not

been served with a summons and complaint within ninety (90) days after the filing of the

complaint (or within sixty (60) days after the party was added to the action) may be dismissed




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without further order of the court unless prior to such time the party on whose behalf such

service is required shows good cause why service has not been perfected.

       20.        Hand Deliveries. If counsel wishes to provide the court with a courtesy copy of a

motion or brief,5 or if an order of this court requires submission of a copy in addition to the

original, such copy SHALL be clearly identified as a “courtesy copy” and left in the Clerk’s

Office for delivery to the court’s chambers. All hand deliveries, unless otherwise instructed, are

to be made to the Clerk’s Office. Fax copies are not accepted and will be deemed undelivered.

       21.        Attorney Fee Shifting Cases. If a party anticipates that during or upon the

completion of this action it may for any reason (other than as a sanction under the Federal Rules

of Civil Procedure) seek an award of attorneys’ fees from the opposing party pursuant to any

statute or other law, the party SHALL comply with the following requirements as a precondition

to any such award:

                  (a)      Counsel SHALL maintain a separate record of time with a
                           complete and accurate accounting of all time devoted to this
                           particular action (to the nearest 1/10 of an hour), recorded
                           contemporaneously with the time expended, for each attorney and
                           with sufficient detail to disclose the nature of the work performed
                           in the action (e.g., not just “research” but the specific matter being
                           researched; not just “conference” but identity of persons conferring
                           and general subject matter of the conference).

                  (b)      If a claim will be made for services performed by any person not a
                           member of the bar, a separate time record SHALL be maintained
                           for each such individual in accordance with (a) above.

                  (c)      Counsel is DIRECTED to review and verify all attorney and non-
                           attorney time records no less than once per month.

                  (d)      Although the court does not require counsel to file a copy of the
                           time records prior to a request for a fee, counsel may file with the
                           Clerk of the Court either a copy of the time record referred to in (a)
                           above, or a separately prepared document setting forth the

       5
           Voluminous courtesy copies should be presented in a three-ring binder.


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                       information described in (a) above. If counsel elects to file reports,
                       they should be filed by the 15th day of the month following the
                       month in which the work was performed during the pendency of
                       the case. If counsel elects to file time reports, the material filed
                       may be filed under seal, subject to further court order, by placing
                       the same in a sealed envelope with the case name and number
                       along with “ATTORNEY TIME RECORDS - FILE UNDER
                       SEAL” written thereon. However, if the material is filed under
                       seal, then the filing party must, at the time of such filing, also file
                       (and serve a copy on opposing parties or their counsel) a document
                       stating the total of the hours represented by the sealed filing,
                       allocated as to total attorney hours and total non-attorney hours
                       included in the current filing under seal. Upon the conclusion of
                       this case, without further order the seal will be lifted as to all
                       attorney fee materials filed under seal.

               (e)     A Petition for Attorney Fees SHALL be accompanied by
                       Counsel’s Certification that all time records are accurate; that such
                       records were prepared contemporaneously with the performance of
                       the work for which the fees are claimed; and that counsel reviewed
                       and verified all attorney and non-attorney time records no less
                       frequently than once per month.

Take Notice: Failure to comply with the foregoing requirements will normally result in
attorneys’ fees being disallowed.

       22.     Cases That Require EEOC Charges. If this case is one in which the filing of a

charge of discrimination with the Equal Employment Opportunity Commission or similar agency

is required as a prerequisite to suit, unless previously attached to the complaint or other pleading,

PLAINTIFF(S) SHALL file with the Clerk of Court at the time of filing the disclosures

required by Rule 26(a)(1): (A) a copy of all charges of discrimination filed with the EEOC and

which form the bases of the action; and (B) a copy of the EEOC’s response to all such charges of

discrimination filed with that agency, including the notice of right to sue.

       23.     Motion Practice. The parties SHALL follow the following procedures related to

motion practice before this court.




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       A.      Summary Judgment Motions. Any motion(s) for summary judgment filed in

this action SHALL comply with all requirements of Appendix II to this order.

       B.      Motions (Other than Dispositive Motions and Motions to Remand). Prior to

filing any motion (other than a dispositive motion or a motion to remand) in this case, moving

counsel SHALL contact the opposing counsel and determine if counsel will oppose the motion.

All motions SHALL include, in the caption under the case number, a notation that the motion is

either “Opposed” or “Unopposed.” The first paragraph SHALL briefly summarize the parties’

attempts to resolve the issue(s) and set forth areas of agreement and disagreement. Failure of the

parties to abide by these requirements can result in a sua sponte denial of the motions for failure

to comply. All non-summary judgment motions (except motions to withdraw, motions for pro

hac vice admission, or joint motions) SHALL comply with Exhibit B to this Order.

       C.      Motion of Counsel to Withdraw. Once an attorney has appeared as counsel for

a party, that attorney may not withdraw from the action merely by filing a “notice of

withdrawal,” but must file a motion seeking permission of the court to do so, explicitly stating

the grounds therefor.     Any motion to withdraw which, if granted, would leave a party

unrepresented by counsel SHALL include a certification that the moving attorney has served a

copy of the motion on his or her client and has informed the client of the right to promptly file an

objection with the court. The motion SHALL also include the notation, “Future notice to (name

of party) is to be made at the following address: (state last known address of the party).”

       DONE and ORDERED this May 18, 2018.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE



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                                      APPENDIX I
                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                             Choose an item. DIVISION


Plaintiff(s).,                                   }
                                                 }
        Choose an item.,                         }
                                                 }
v.                                               }    Case No.: Case Number.
                                                 }
Defendant(s).,                                   }
                                                 }
        Choose an item..                         }

                        QUALIFIED HIPAA PROTECTIVE ORDER

        The parties are hereby granted the right, upon compliance with the applicable discovery

provisions of the Federal Rules of Civil Procedure and the orders of this court, to obtain from

any health care provider, health plan, or other entity covered by the Health Insurance Portability

and Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936 (1996) (AHIPAA@), any and

all information relating to the past, present, or future medical condition of any individual who is

a party to this action (or the decedent or ward of a party who sues in a representative capacity),

as well as any and all information relating to the provision of health care to such individual and

payment for the provision of such health care.

        This order authorizes any third-party who is provided with a subpoena requesting the

production of documents or commanding attendance at deposition or trial to disclose the

Protected Health Information in response to such request or subpoena. This order is intended to

authorize such disclosures under the privacy regulations issued pursuant to HIPAA. 45 C.F.R. §

164.512(e)(1)(i).
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       The parties are EXPRESSLY PROHIBITED from using or disclosing the protected

health information obtained pursuant to this order for any purpose other than this action.

Further, the parties are ORDERED to either return to the covered entity from whom or which

such protected health information was obtained, or to destroy the protected health information

(including all copies made), immediately upon conclusion of this action. See 45 C.F.R. §§

163.502(b); 164.512(e)(1)(v).

       DONE and ORDERED this                  day of ______________, 20_____.


                                                  _______________________________
                                                  R. DAVID PROCTOR
                                                  UNITED STATES DISTRICT JUDGE




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                                      APPENDIX II
                         SUMMARY JUDGMENT REQUIREMENTS


                                           NOTICE
This exhibit contains specific, mandatory instructions regarding the preparation and submission
of briefs and evidentiary materials in support of and in opposition to potentially dispositive
motions. These instructions must be followed explicitly. Except for good cause shown,
briefs and evidentiary materials that do not conform to the following requirements may be
stricken.

                                      SUBMISSION DATES

         The parties to the above-styled action have been or will be given a deadline for the filing

of dispositive motions. Any motion for summary judgment and supporting brief and evidentiary

materials will be due on or before that deadline. The responsive submission of the party

opposing the motion for summary judgment shall be filed no later than twenty-one (21) days

after the motion for summary judgment is filed. The movant=s reply submission shall be filed no

later than fourteen (14) days after the date on which the opponent=s responsive submission is

filed.

         To ensure that each party is afforded a full and fair opportunity to be heard, the parties

must cause copies of briefs and evidentiary materials to be delivered to opposing parties without

undue delay and, generally, on the same date such materials are submitted to the court.

                                          SUBMISSIONS

         The parties= submissions in support of and in opposition to summary judgment motions

must consist of: (1) a brief containing, in separately identified sections, (i) a statement of

allegedly undisputed relevant material facts and (ii) a discussion of relevant legal authorities; and

(2) copies of any evidentiary materials upon which the party relies. More detailed requirements

for these submissions are explained in the following sections.
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                                 REQUIREMENTS FOR BRIEFS

A.      Format

        Initial and response briefs are limited to thirty (30) pages. Reply briefs are limited to ten

(10) pages. Briefs that exceed twenty (20) pages must include a table of contents that accurately

reflects the organization of the document. The table of contents is not included in the page limit.

The text of briefs must be double spaced (except for quotations exceeding fifty (50) words,

which may be block indented from the left and right margins and single spaced) using 12-point

typeface, preferably Times New Roman.

B.      Number Submitted

        The parties must electronically file their brief through the court=s CM/ECF system. The

parties shall also email to the court=s chambers such brief in either Word or WordPerfect format.

For any brief over ten (10) pages, the parties must simultaneously submit to the Clerk=s Office,

for delivery to the court=s chambers by the Clerk, an exact copy of the brief, clearly identified as

a Acourtesy copy.@

C.      Binding

        The court=s Acourtesy copy@ of the brief must be securely bound (e.g. by three-ring binder

or large clip) for ease of use, and, to prevent inadvertent loss of pages. In addition, all pages

submitted in the court=s Acourtesy copy@ shall be three-hole punched. Do not submit a reply in a

separate binder if the initial brief was in a binder.

D.      Manner of Stating Facts

        All briefs submitted either in support of or in opposition to a motion must begin with a

statement of allegedly undisputed relevant material facts set out in separately numbered

                                                   2
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paragraphs. Counsel must state facts in clear, unambiguous, simple, declarative sentences. All

statements of fact must be supported by specific reference to evidentiary submissions.

         1.       Moving Party=s Initial Statement of Facts

         The moving party shall list in separately numbered paragraphs each material fact the

movant contends is true and not in genuine dispute, and upon which the moving party relies to

demonstrate that it is entitled to summary judgment. Each such statement must be followed by a

specific reference to those portions of the evidentiary record that the movant claims support it.1

         2.       Opposing Party=s Statement of Facts

         Each party opposing a summary judgment motion also must submit a statement of facts

divided as follows.

                  a.       Response to Movant=s Statement

         The first section must consist of only the non-moving party=s disputes, if any, with the

moving party=s claimed undisputed facts.                The non-moving party=s response to the moving

party=s claimed undisputed facts shall be in separately numbered paragraphs that coincide with

those of the moving party=s claimed undisputed facts. Any statements of fact that are disputed by

the non-moving party must be followed by a specific reference to those portions of the

evidentiary record upon which the dispute is based. All material facts set forth in the statement

required of the moving party will be deemed to be admitted for summary judgment purposes

unless controverted by the response of the party opposing summary judgment.




         1
          Each statement of fact should be supported by its own evidentiary citation, regardless of the fact that more
than one statement of fact allegedly is supported by the same specific reference to the evidentiary record or more
than one statement of fact is contained in the same numbered paragraph.
                                                          3
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                  b.       Additional Undisputed Facts

         The second section may contain additional, allegedly undisputed facts set out in

separately numbered paragraphs that the opposing party contends require the denial of summary

judgment. The second section of the opposing party=s statement of facts, if any, shall be clearly

designated as such.2 The opposing party should include only facts which the opposing party

contends are true and not in genuine dispute.

                  c.       Additional Disputed Facts

         The third section may contain additional, allegedly disputed facts set out in separately

numbered paragraphs that the opposing                  party contends        require the denial of summary

judgment. The third section of the opposing party=s statement of facts, if any, shall be clearly

designated as such. Each statement of allegedly disputed facts must be followed by specific

reference to those portions of the evidentiary record which both support and contradict the

alleged fact.3

         3.       Moving Party=s Reply

         The reply submission, if any, shall consist of only the moving party=s disputes, if any,

with the non-moving party=s additional claimed undisputed facts. The moving party=s response

to the non-moving party=s additional claimed undisputed facts shall be in separately numbered


         2
          Each statement of fact should be supported by its own evidentiary citation, regardless of the fact that more
than one statement of fact allegedly is supported by the same specific reference to the evidentiary record or more
than one statement of fact is contained in the same numbered paragraph.
         3
           The court recognizes that, in some circumstances, a party opposing a motion for summary judgment may
want to set out facts which that party claims are true and supported by evidence, but cannot, in good conscience and
consistent with Rule 11, say are undisputed. In such case, the party should include a separate section of fact
statements, set out in short declarative sentences and individually numbered paragraphs, which are supported by
some evidence but, nevertheless, are in dispute. When doing so, however, the party should include record citations
which both support and contradict the alleged fact.
                                                          4
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paragraphs that coincide with those of the non-moving party=s additional claimed undisputed

facts. Any statements of fact that are disputed by the moving party must be followed by a

specific reference to those portions of the evidentiary record upon which the disputation is based.

All additional material facts set forth in the statement required of the opposing parties will be

deemed to be admitted for summary judgment purposes unless controverted by the statement of

the movant.

        The court reserves the right sua sponte to STRIKE any statements of fact or

responsive statements that fail to comply with these requirements.

                   REQUIREMENTS FOR EVIDENTIARY MATERIALS

        The parties must electronically file through the court=s CM/ECF system, simultaneously

with their briefs, all evidentiary materials (e.g., affidavits, exhibits, depositions, or other products

of discovery) relied upon in support of or in opposition to summary judgment motions, except

those materials included in the moving party=s initial evidentiary submission may be referenced

by any party opposing the motion, without re-submitting additional copies of the same

documents.

        While the court reserves the right to consider evidentiary materials that are not

specifically referenced in the brief, no party has a right to assume the court will consider such

materials. A specific reference must include the exhibit number, page, and when appropriate the

line number.

A.      Organization

        Each volume of evidentiary materials must include a table of contents that includes a

brief narrative description of each document included: e.g., APlaintiff=s Exhibit 1, the Deposition

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of John Jones.@ For ease of citation, each affidavit, exhibit, deposition, or other product of

discovery must be separately identified by a capital letter or numeral (i.e., AExhibit A@ or

AExhibit 1@); and, if the exhibit contains more than one page, each page must be separately

numbered.4 Counsel are directed to submit entire depositions, even if relying only on

excerpts.

         When submitting a deposition, the parties SHALL include the travel transcript (or

miniscript) which include four (4) pages of deposition text per 8 ½” by 11” page, and the parties

must also include the word index.

B.       Number of Sets Submitted

         The parties must electronically file one set of evidentiary materials through the court=s

CM/ECF system. The parties must simultaneously submit to the Clerk of Court, for delivery to

the court=s chambers by the Clerk, an exact copy of the set of evidentiary materials, clearly

identified as a Acourtesy copy.@ There must be no differences between the electronically filed

materials and the Acourtesy copy.@

C.       Binding of Courtesy Copy

         The courtesy copy of the evidentiary submission must be securely bound -- in separately

numbered volumes, if necessary -- for ease of use and to prevent inadvertent loss of pages.




         4
           A reference to that exhibit in the statement of facts or brief might be, APlaintiff=s Ex. 1, p. 41.@ The court
does not, however, require any specific form as long as specific page references are used.
                                                           6
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                                             EXHIBIT B1
                        Non-Summary Judgment Motion Scheduling Order2

        The court recognizes that a number of motions filed with the court do not require

additional briefing before the court takes them under consideration. However, to the extent the

parties determine that briefing is necessary on a non-summary judgment motion, or to the extent

the court orders briefing on a non-summary judgment motion, the following schedule and

requirements for the submission of briefs are established. Except for good cause shown, briefs

that do not conform to the requirements of this Order will be stricken.

A.      Schedule

        1.       Upon the filing of any non-summary judgment motion, the movant shall either

incorporate into the motion the arguments and/or authorities upon which it relies or

simultaneously file a separate brief with its initial motion.

        2.       The opponent=s responsive brief shall be filed no later than ten (10) calendar

days thereafter. (NOTE: Days should be calculated without taking into account Fed. R. Civ. P.

6. However, if the due date falls on a weekend or court holiday, the due date shall be the next

business day).

        3.       The movant=s reply brief shall be filed no later than five (5) calendar days after

the date on which the opponent=s responsive brief is filed. (NOTE: Days should be calculated



        1
          The designation Exhibit B carries with it a historical importance in this court. (NOTE: This is not an
Exhibit A attached to the Initial Order.).
         2
           NOTE: The following instructions do not apply to summary judgment motions unless an order of the
court specifically provides otherwise. Any motion(s) for summary judgment filed in this action shall be governed by
the provisions of Appendix II to the Uniform Initial Order, which can be viewed on the court=s website at
www.alnd.uscourts.gov/Proctor/ProctorsPage.htm.
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without taking into account Fed.R.Civ.P. 6. However, if the due date falls on a weekend or court

holiday, the due date shall be the next business day).

         The parties shall transmit their briefs in such a manner that their opponents will not suffer

any undue delay in the receipt of their service copies of any briefs. It is the intent of the court

that each party shall be afforded a full and fair opportunity to be heard and counsel are expected

to take care that service of copies is not unreasonably delayed.3                     Upon conclusion of the

submission schedule, the court may take the motion under submission without further notice to

the parties and materials submitted after the close of the submission schedule will not be

considered in ruling on the motion absent obtaining leave of court.

B.       Briefs

         The parties shall electronically file their briefs through the court=s CM/ECF system and

shall submit an exact courtesy copy of the brief to the Clerk=s office for delivery to the court=s

chambers.4 The parties are then required to email their briefs, in Word or WordPerfect format, to

the chamber=s email address at proctor_chambers@alnd.uscourts.gov. The materials submitted

to the Clerk=s office for delivery to the court=s chambers, as well as those sent via email, shall

contain the exact same materials and only the materials which are electronically filed through the

court=s CM/ECF system. There must be no differences between the electronically Afiled@ briefs

and the Acopy@ provided to the court, except that the courtesy copy submitted for chambers must

be three-hole punched.          In the event of a later appeal, the court will not look favorably upon


         3
          The opposing party should typically receive a copy of all materials on the same date that the submission is
made to the court, but in no event more than one (1) business day later.

         4
             Deliveries are no longer accepted in the court=s chambers unless prior arrangements have been made.


                                                         2
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motions to supplement the record on appeal to add materials on the ground that such materials

were submitted to the court but were not electronically Afiled@ with the Clerk.

         Briefs should be entitled A[Movant=s or Opponent=s] [Initial, Responsive or Reply]

Submission in Response to Exhibit B of the Court=s Order@ to ensure that the brief will be filed

by the Clerk in the official court record. The text of initial and responsive briefs shall not exceed

twenty-five (25) pages and reply briefs are limited to ten (10) pages. 5 Briefs exceeding ten (10)

pages in length shall have incorporated therein a table of contents that accurately reflects the

organization of the brief itself.         Tables of Contents shall not be included for purposes of

computing the number of pages in a brief.

C.       Required Certification

         Counsel for either party (or any individual under the direction or control of a party),

signing any document, including an affidavit, in connection, either directly or indirectly, with a

motion, response to such a motion, or a reply to any such response, shall certify by his or her

personal signature and as an officer of the court that he or she has affirmatively and diligently

sought to submit to the court only those documents, factual allegations, and arguments that are

material to the issues to be resolved in the motion, that careful consideration has been given to

the contents of all submissions to ensure that the submissions do not include vague language or

an overly broad citation of evidence or misstatements of the law, and that all submissions are

non-frivolous in nature.




         5
           Briefs must be typewritten and double spaced, using at least 12-point type. The court expects that counsel
will respect the page limitation established by this order. Transparent attempts on the part of counsel to circumvent
page limitations by manipulating type sizes, margins, line spacing, or other similar end runs will not be tolerated.

                                                         3
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D.     Oral Argument

       Upon receipt of the motion, the court may schedule the motion for consideration at a

separate hearing or motion docket. Oral argument is not required, but either party may submit a

request for oral argument by noting the request on the style of the pleading itself or by serving a

request on the court and opposing party. Separate requests for oral argument should not be filed.

The court will permit oral argument if the court deems it necessary, helpful, or appropriate.




                                                 4
